759 F.2d 1171
    Georgia J. LEWIS, Appellee,v.R. Max BLACKBURN, Appellant,andFrank W. Snepp, Defendant.North Carolina Civil Liberties Union, Amicus Curiae.Georgia J. LEWIS, Appellee,v.R. Max BLACKBURN, Defendant,andFrank W. Snepp, Appellant.North Carolina Civil Liberties Union, Amicus Curiae.
    Nos. 83-1040(L), 83-1041.
    United States Court of Appeals,Fourth Circuit.
    Argued Oct. 2, 1984.Decided April 24, 1985.
    
      Harry H. Harkins, Jr., Asst. Atty. Gen., Raleigh, N.C.  (Rufus L. Edmisten, Atty. Gen., Millard R. Rich, Jr., Deputy Atty. Gen., Raleigh, N.C., Jane S. Barkley, Charlotte, N.C., on brief), for appellants.
      George Daly, Charlotte, N.C., for appellee.
      (Daniel H. Pollitt, Norman B. Smith, Greensboro, N.C., Dean Shangler, Law Student, University of North Carolina, Jay Trehy, Law Student, University of North Carolina on brief), for amicus curiae.
      Before WINTER, Chief Judge, and RUSSELL, WIDENER, HALL, PHILLIPS, MURNAGHAN, SPROUSE, ERVIN, CHAPMAN and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      For the reasons adequately set forth in Judge Ervin's dissent to the original panel opinion, Lewis v. Blackburn, 734 F.2d 1000, 1008-1012 (4th Cir.1984), we reverse the decision of the district court.  555 F.Supp. 713.  We hold that the district court erred as a matter of law in finding that Georgia Lewis was not reappointed because she protested matters of public concern rather than matters of her immediate self-interest, within the meaning of the Supreme Court's ruling in Connick v. Myers, 461 U.S. 138, 103 S.Ct. 1684, 75 L.Ed.2d 708 (1983).1   Accordingly, the decision of the district court is reversed and the case is remanded for the entry of judgment in favor of the defendants.
    
    
      2
      Chief Judge Winter and Judge Wilkinson would affirm the district court's decision.  They dissent on the grounds articulated in the original panel's majority opinion.   Lewis, 734 F.2d at 1000-08.
    
    
      3
      REVERSED AND REMANDED.
    
    
      
        1
         The decision in Connick was not handed down until after the district court rendered its decision in this case, but the parties were invited to and did file supplemental briefs in response to that opinion
      
    
    